Case 3:17-cv-00072-NKM-JCH Document 769 Filed 06/18/20 Page 1 of 5 Pageid#: 11374



                                                                            cv RK's OFFICE U.s, DISX COURT
                               IN THE UNITED STATES DISTRICT                    ATCHARLOU ESVILE,VA
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                             CO UR T FO R TH E W ESTER N D ISTR ICT                     FILED
                              O F V IRG IN'IA Charlottesville D ivision             JUN 1s 2222
                                                                                JU       . D EM nlGRK        .
                                                                               BK
  ELIZM ETH SIN ES,etaI,                                                             D   .
                                                                                              E
            Plaintiff,


  Y.                                           CivilAction No.3:17-cv-00072-NK M -JCH
                                               ORAL ARGUM ENT REQUESTED

  JASO N K E SSLE R,et aI,
               D efendant.


                       M OTION TO STAY ORDER DENYING.IN PART.
                     M OTIONS TO OUASH SUBPOENAS DUCES TECUM
                      SER VED O N A TTO R NEY S LUN SFO RD AN D H ILL


          COM ESNOW ,attorneysDeniseY.Ltmsford,Esquire(Gttmsford'')andJohn1.Hill
  (GçHi11'')andrequestthattlzisCourtstayitsJtme 12,2020M emorandtzm Opinion& Order,ECF
  No.765,denying,inlargepart,M otionsto Quashsubpoenasducestecum servedbyPlaintiffs
  (theGr rder'').Insupportthèreof,Lunsford& Hillstateasfollows:
       1. The OrderprovidesthatLunsford and H illproduce,w ith lim ited exception,doczlm ents

          responsivetothesubpoenasducestecum withinten (10)daysofthedateoftheOrder.
       2. Lunsford and H illhave beglm the process ofproviding inform ation responsiveto the

          subpoenasducem tecum wlzich wasreceived from the Com monwea1th and willcontinue

          to provideresponsiveinform ation thatisnotprivileged,work product,orcovered by an

          OrderofCourtprollibiting disclosure.

       3. Ltm sford and H illhave filed a M otion to R econsiderthisCourts Order and requested an

          evidentiary hearing and oralargum entthereon.
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     4. Requiring production ofinformation priorto aruling on theM otion forReconsider

        would resultin irrepazablehnnn to Ltm sford and Hillincludingplacing them inviolation

        ofthe Order,otherOrdersofthisCourt,and ordersofotherCotlrts.

     5. Ltm sford and Hillhaveadvised theOfficeoftheUnited SGtesAttom ey ofthe Order

        andhaverequested assistancefrom thatOfficein determ iningwhich docllmentswere

        provided by theCom monwea1th,which wereprovided by theU.S.Attorney,and wllich

        docum entsodginated f'
                             rom theOfsceoftheUnited StatesAttorney butwereprovideto

        Llm sford and H illby the Com m onw ea1th. Such review w illrequire additionaltim e

        beyondtheten(10)daytimeperiodandisnecessarytopreventLtmsfordandHillfrom
        violating eitherthe OrderorthisCourtsFebruary 23,2018nondisclosure Order.

     6. Docllmentsresponsiveto thesubpoenasducestecum arevolllm inous.In addition to

        determining wllich documentsareresponsive,Lunsford andH illm ustalso determ ine

        wllich responsive docllm entsarework productand which areprivileged m aterialand

        createaPrivilegeLog. The creation ofsuch a1ogwillrequireextensivetime.

     7. Altem ately,Lunsford andHillrequestthatthisCourtextendthe dateby which

        responsivedocllmentsmustbeproducedtoten(10)daysafterahearingontheirM otion
        to R econsider.



        W HEREFORE,fortheforegoing reasons,DeniseY .Ltmsford,Esq.and Jolm 1.Hill,

  Esq.respectfully requestthatthisCotu'
                                      tstay itsJune 12,2020 Orderdenying,in largeparqtheir

  M otionstoQuash SubpoenasDucesTecllm or,altem ately,extendthedatebywhichresponsive
  docllm entsm ustbe produced.
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